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 6
 7                           UNITED STATES DISTRICT COURT
 8                         CENTRAL DISTRICT OF CALIFORNIA
 9
10     JENIFER BLUM, JAMIE DUMELLE,                   Case No. 2:22-cv-2044
       AMANDA OFFLEY, KERRY HINES and
11     TANISHA DIVITO, individually and on            CLASS ACTION COMPLAINT
12     behalf of all others similarly situated,

13                       Plaintiffs,                  JURY TRIAL DEMANDED

14               v.
15     FASHION NOVA, LLC,
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                        Defendant.
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       CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
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 1           Plaintiffs Jenifer Blum, Jamie Dumelle, Amanda Offley, Kerry Hines, and
 2     Tanisha DiVito (collectively, “Plaintiffs”), by their undersigned attorneys, bring this
 3     class action complaint against Fashion Nova, LLC (“Defendant” or “Fashion Nova”).
 4     Plaintiffs’ allegations are based upon personal knowledge as to their own acts and
 5     upon information and belief as to all other matters.
 6                                    NATURE OF ACTION
 7           1.     This is an action regarding Defendant’s intentional suppression of
 8     hundreds of thousands of 1-star, 2-star, and 3-star consumer reviews (alternatively, the
 9     “Lower-Starred Reviews”) from its online website to artificially inflate the value of its
10     products.
11           2.     When shopping online, consumers heavily rely on reviews from fellow
12     shoppers. In fact, ninety-three percent (93%) of adults in the United States read
13     reviews before making online purchases.1
14           3.     Fashion Nova, an almost exclusively online retailer,2 has made millions
15     of dollars selling clothing, apparel, accessories, and more (collectively, the
16     “Products”) on its website, fashionnova.com.
17           4.     Taking advantage of the fact that prospective consumers rely on fellow
18     consumers’ reviews prior to making an online purchase, Defendant intentionally
19     suppressed Lower-Starred Reviews for all Products on its website.
20           5.     Specifically, the Federal Trade Commission found that “[f]rom as early
21     as late 2015 through mid-November 2019, Fashion Nova chose to have four- and five-
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       1
25       https://hbr.org/2021/06/what-happens-when-companies-pay-customers-to-write-
       reviews
26     2
         Fashion Nova has approximately five brick-and-mortar stores, however, generates a
27     significant amount of its sales from its online website.
       https://www.fashionnova.com/pages/locations


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 1     star reviews automatically post to the website, but did not approve or publish hundreds
 2     of thousands lower-starred, more negative reviews.”3
 3            6.     Had Defendant not engaged in these deceptive and unfair practices, the
 4     average ratings, and inherent value to prospective consumers, of Defendant’s Products
 5     would have been lower. Moreover, the written reviews would have provided more
 6     information to prospective consumers, including concerns over the quality of the
 7     Products, prior to deciding whether to purchase said Products. As a result, had
 8     Defendant not suppressed the Lower-Starred Reviews, Plaintiffs and other consumers
 9     would not have purchased a number of Products, or would have paid substantially less
10     for the Products, because the Products would have been rated poorly and deterred
11     Plaintiffs and other consumers from making purchases.
12            7.     Plaintiffs assert claims on behalf of themselves and similarly situated
13     purchasers of Defendant’s Products for violations of the consumer protections laws of
14     California, Florida, New Jersey, and Michigan, as well as unjust enrichment.
15                                        THE PARTIES
16            8.     Plaintiff Jenifer Blum is a resident of Diamond Bar, California and has
17     an intent to remain there, and is therefore a domiciliary of California. While in
18     California, Ms. Blum purchased a dress from Defendant’s website in June 2018. Ms.
19     Blum reviewed and relied on the highly rated consumer reviews on the Product prior
20     to purchasing said Product. Had Defendant not suppressed the Lower-Starred Reviews
21     of the Product, Ms. Blum would not have purchased the Product or would have paid
22     substantially less for it.
23            9.     Plaintiff Jamie Dumelle is a resident of Lauderhill, Florida and has an
24     intent to remain there, and is therefore a domiciliary of Florida. While in Florida, Ms.
25     Dumelle purchased multiple dresses from Defendant’s website in November 2018.
26     3
         https://www.ftc.gov/news-events/news/press-releases/2022/01/fashion-nova-will-
27     pay-42-million-part-settlement-ftc-allegations-it-blocked-negative-reviews
       (emphasis added).


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 1     Ms. Dumelle reviewed and relied on the highly rated consumer reviews on the
 2     Products prior to purchasing said Products. Had Defendant not suppressed the Lower-
 3     Starred Reviews of the Products, Ms. Dumelle would not have purchased the Products
 4     or would have paid substantially less for them.
 5           10.    Plaintiff Amanda Offley is a resident of Brockton, Massachusetts and has
 6     an intent to remain there, and is therefore a domiciliary of Massachusetts. While in
 7     Massachusetts, Ms. Offley purchased multiple pairs of swimsuits and shorts from
 8     Defendant’s website in May 2018. Ms. Offley reviewed and relied on the highly rated
 9     consumer reviews on the Products prior to purchasing said Products. Had Defendant
10     not suppressed the Lower-Starred Reviews of the Products, Ms. Offley would not have
11     purchased the Products or would have paid substantially less for them.
12           11.    Plaintiff Kerry Hines is a resident of Clifton, New Jersey and has an intent
13     to remain there, and is therefore a domiciliary of New Jersey. While in New Jersey,
14     Ms. Hines purchased multiple shirts, dresses, jeans, and skirts from Defendant’s
15     website in February 2018, September 2018, October 2018, and November 2018. Ms.
16     Hines reviewed and relied on the highly rated consumer reviews on the Products prior
17     to purchasing said Products.     Had Defendant not suppressed the Lower-Starred
18     Reviews of the Products, Ms. Hines would not have purchased the Products or would
19     have paid substantially less for them.
20           12.    Plaintiff Tanisha DiVito is a resident of Detroit, Michigan and has an
21     intent to remain there, and is therefore a domiciliary of Michigan. While in Michigan,
22     Ms. DiVito purchased a jacket, sweater, and pair of jeans from Defendant’s website in
23     December 2018. Ms. DiVito reviewed and relied on the highly rated consumer
24     reviews on the Products prior to purchasing said Products. Had Defendant not
25     suppressed the Lower-Starred Reviews of the Products, Ms. DiVito would not have
26     purchased the Products or would have paid substantially less for them.
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 1           13.    Plaintiffs are reasonable consumers and are not required to scrutinize
 2     consumer reviews to ferret out misleading facts and omissions (nor could they), and
 3     cannot ascertain facts that are in Defendant’s exclusive control. Defendant had
 4     exclusive control over consumer reviews published on its website, and its practice to
 5     deliberately suppress Lower-Starred Reviews from its websites.
 6           14.    Defendant Fashion Nova, LLC is a California corporation and is
 7     headquartered at 2801 E. 46th Street, Vernon, California 90058. Defendant owns and
 8     manages a primarily online retail business that generates approximately $500 million
 9     in revenue per year.
10                                JURISDICTION AND VENUE
11           15.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. §
12     1332(d)(2)(A). There are more than 100 Class Members, the aggregate claims of all
13     members of the proposed Class exceed $5,000,000.00, exclusive of interest and costs,
14     and at least one Class Member is a citizen of a state different than Defendant.
15           16.    Defendant is an “unincorporated association” under the Class Action
16     Fairness Act (“CAFA”), 28 U.S.C. § 1332(d), and Defendant is therefore “a citizen of
17     the State where it has its principal place of business [California] and the State under
18     whose laws it is organized [California].” See 28 U.S.C. § 1332(d)(10).
19           17.    This Court has personal jurisdiction over Defendant because Defendant
20     is incorporated and has its principal place of business in California.
21           18.    Venue is proper in this Court under 28 U.S.C. § 1391(b) because
22     Defendant resides in this District.
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 1                                 FACTUAL BACKGROUND
 2           19.    When shopping online, consumers heavily rely on reviews made by
 3     fellow shoppers. In fact, ninety-three percent (93%) of adults in the United States read
 4     reviews before making online purchases.4
 5           20.    This statistic makes sense. When consumers purchase products online,
 6     they are not able to see the product for themselves and are unlikely to trust what a
 7     company will say regarding the quality of its own product.
 8           21.    As a result, consumers want to see what fellow consumers, who have
 9     already made the purchase, have to say. However, not only do consumers want to hear
10     what others who have already made the purchase have to say, consumers also trust and
11     are influenced by others in their position, as roughly “90% of consumers say that
12     positive online reviews influence their buying decisions.”5
13           22.    One popular form of consumer reviews is leaving a star-rating of the
14     product, ranging from one-star to five-star, with an attached comment explaining why
15     the consumer left such a rating. Five stars means that, on average, past purchasers
16     thought that the product was very good. One star means that, on average, past
17     purchasers though that the product was very bad.
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         https://hbr.org/2021/06/what-happens-when-companies-pay-customers-to-write-
26     reviews
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27       https://medium.com/@BBBNWP/the-power-of-reviews-and-how-consumers-rely-
       on-them-to-make-purchases-51fcbcebd376


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 1             23.      Consumers rely on these reviews, and the aggregate average star rating
 2     of the product just as much as any other type of consumer review. In fact, consumers
 3     generally will not even consider a product unless it has a minimum average star-rating
 4     of 3.4 stars.6
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               24.      In other words, products with too many lower-star reviews are products
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       that future consumers will not want to purchase or will not pay as much for.
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               25.      Defendant, taking advantage of all this information, enacted unfair and
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       deceptive provisions on its online website regarding consumer reviews of its Products.
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               26.      Specifically, Defendant, through a third-party interface, suppressed any
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       and all Lower-Starred Reviews on all Products on its online website from 2015 to
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       2019.
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               27.      By intentionally suppressing the Lower-Starred Reviews, Defendant
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       achieved two important goals. First, Defendant was able to artificially inflate the
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       average star rating for each Product on its website, thus making each Product look
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       more attractive to all prospective consumers.
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               28.      With only four-star and five-star reviews remaining on each Product, the
21
       lowest average star-rating for any Product on Defendant’s website could not be lower
22
       than a 4.0 average star-rating, well above the 3.4 average minimum consumers look
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       for when considering a purchase.
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           https://www.podium.com/state-of-online-reviews/


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             29.    Thus, Defendant’s conduct directly led to a false average star rating for
 7
       all Products on its website.
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             30.    Importantly, this also meant that Defendant inflated the value of each
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       Product, and therefore the price of each Product, in which reviews were suppressed.
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             31.    Second, Defendant’s conduct omitted any consumer warnings and/or
11
       concerns with the Products, information that other consumers should have been given
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       access to prior and would have utilized to determine whether to purchase Products on
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       Defendant’s website.
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             32.    The following are lower-starred consumer reviews on Defendant’s
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       website in the past two years—since Defendant ceased suppressing Lower-Starred
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       Reviews on its website—addressing the size, fit, and quality, or lack thereof, of
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       Defendant’s Products:
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11           33.   These are just some examples of the types of information that from 2015
12     to 2019 were not available for consumers to review prior to purchasing a Product on
13     Defendant’s website.
14           34.   In sum, from 2015 to 2019, consumers relied on Defendant’s
15     representations that the Products were highly rated by fellow consumers and did not
16     have any issues.
17           35.   Consumers during that time period had no way of knowing that
18     Defendant was suppressing Lower-Starred Reviews, and were instead left to think that
19     the Products were simply highly rated and of high-quality.
20           36.   In January 2022, the Federal Trade Commission (“FTC”) found that
21     Defendant had been suppressing lower-starred consumer reviews throughout its
22     website from 2015 to 2019.7
23           37.   Specifically, the FTC found that Defendant “installed a third-party online
24     product review management interface. The interface allow[ed] users to choose to have
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27      https://www.ftc.gov/system/files/documents/cases/192_3138_fashion_nova_
       complaint.pdf.


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 1   certain reviews automatically post based upon their star ratings and hold lower-starred
 2   reviews for client approval prior to posting.”8
 3         38.    Importantly, “[f]rom as early as late 2015 through mid-November 2019,
 4   Fashion Nova chose to have four- and five-star reviews automatically post to the
 5   website, but did not approve or publish hundreds of thousands lower-starred, more
 6   negative reviews.”9
 7         39.    Defendant’s representations of the Products during the above time period
 8   were materially misleading in that they were likely to deceive a reasonable consumer
 9   of other purchasers’ true feelings and experiences with the Products, which were more
10   negative than was otherwise advertised.
11         40.    As a direct and proximate result of Defendant’s misrepresentations,
12   material omissions, and deceptive practices in its website, Plaintiffs and others
13   similarly situated consumers have suffered actual injuries from their purchase of one
14   or more of the Products because Plaintiffs and other consumers would not have
15   purchased the Products, or would have paid significantly less for them, had Defendant
16   not suppressed the Lower-Starred Reviews.
17                             CLASS ACTION ALLEGATIONS
18         41.    Plaintiffs seek to represent a class defined as all persons in the United
19   States who purchased an item from Fashion Nova’s website from January 1, 2015
20   through and including December 25, 2018 (the “Nationwide Class”).
21         42.    Plaintiff Jenifer Blum seeks to represent a class defined as all persons
22   within the State of California who purchased an item from Fashion Nova’s website
23   from January 1, 2015 through and including December 25, 2018 (the “California
24   Class”).
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     8
       Id.
27   9
       Id. (emphasis added).


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 1         43.    Plaintiff Jamie Dumelle seeks to represent a class defined as all persons
 2   within the State of Florida who purchased an item from Fashion Nova’s website from
 3   March 28, 2018 through and including December 25, 2018 (the “Florida Class”).
 4         44.    Plaintiff Kerry Hines seeks to represent a class defined as all persons
 5   within the State of New Jersey who purchased an item from Fashion Nova’s website
 6   from March 28, 2016 through and including December 25, 2018 (the “New Jersey
 7   Class”).
 8         45.    Plaintiff Tanisha DiVito seeks to represent a class defined as all persons
 9   within the State of Michigan who purchased an item from Fashion Nova’s website
10   from March 28, 2016 through and including December 25, 2018 (the “Michigan
11   Class”).
12         46.    The aforementioned Classes shall collectively be referred to as “the
13   Classes.”
14         47.    Excluded from the Classes are governmental entities, Defendant,
15   Defendant’s affiliates, parents, subsidiaries, employees, officers, directors, and co-
16   conspirators. Also excluded is any judicial officer presiding over this matter and the
17   members of their immediate families and judicial staff.
18         48.    Plaintiffs reserve the right to modify or expand the definition of the
19   Classes to seek recovery on behalf of additional persons as warranted as facts are
20   learned in further investigation and discovery.
21         49.    Members of the Classes are so numerous that their individual joinder
22   herein is impracticable. The precise number of Class Members and their identities are
23   unknown to Plaintiffs at this time but will be determined through discovery of
24   Defendant’s records. Class Members may be notified of the pendency of this action
25   by mail, email, and/or publication.
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 1         50.    Common questions of law and fact exist as to all Class Members and
 2   predominate over questions affecting only individual Class Members. These common
 3   legal and factual questions include, but are not limited to:
 4                (a)    whether the online reviews for Fashion Nova items on its website
 5                       included false and/or misleading statements and/or omissions;
 6                (b)    whether Defendant’s conduct violated the FAL;
 7                (c)    whether Defendant’s conduct violated the UCL;
 8                (d)    whether Defendant’s conduct violated the Florida Deceptive and
 9                       Unfair Trade Practices Act;
10                (e)    Whether Defendant’s conduct violated the New Jersey Consumer
11                       Fraud Act;
12                (f)    whether Defendant’s conduct violated the Michigan Consumer
13                       Protection Act; and
14                (g)    whether Defendant was unjustly enriched by its conduct.
15         51.    Plaintiffs’ claims are typical of the claims of the proposed Classes they
16   seek to represent because Plaintiffs, like all members of the Classes, purchased the
17   Products from Defendant’s website during the relevant class periods without knowing
18   that Lower-Starred Reviews were being suppressed by Defendant. The representative
19   Plaintiffs, like all members of the Classes, have been damaged by Defendant’s
20   misconduct in the very same way as the members of the Classes. Further, the factual
21   bases of Defendant’s misconduct are common to all members of the Classes and
22   represent a common thread of misconduct resulting in injury to all members of the
23   Classes.
24         52.    Plaintiffs are adequate representatives of the Classes they seek to
25   represent because their interests do not conflict with the interests of the members of
26   the Classes they seek to represent, they have retained counsel competent and
27   experienced in prosecuting class actions, and they intend to prosecute this action


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 1   vigorously. The interests of the members of the Classes will be fairly and adequately
 2   protected by Plaintiffs and their counsel.
 3         53.    A class action is superior to other available means for the fair and efficient
 4   adjudication of the claims of members of the Classes. Each individual member of the
 5   Classes may lack the resources to undergo the burden and expense of individual
 6   prosecution of the complex and extensive litigation necessary to establish Defendant’s
 7   liability. Individualized litigation increases the delay and expense to all parties and
 8   multiplies the burden on the judicial system presented by the complex legal and factual
 9   issues of this case. Individualized litigation also presents a potential for inconsistent
10   or contradictory judgments. In contrast, the class action device presents far fewer
11   management difficulties and provides the benefits of single adjudication, economy of
12   scale, and comprehensive supervision by a single court on the issue of a defendant’s
13   liability. Class treatment of the liability issues will ensure that all claims and claimants
14   are before this Court for consistent adjudication of the liability issues.
15                                         COUNT I
                 Violations of California’s Unfair Competition Law (“UCL”)
16                       Business & Professions Code § 17200, et seq.
17         54.    Plaintiffs hereby incorporate by reference the allegations contained in all
18   preceding paragraphs of this complaint.
19         55.    Plaintiff Blum brings this claim individually and on behalf of the
20   members of the proposed Nationwide Class and California Class.
21         56.    This claim is brought under the laws of California.
22         57.    Defendant has violated California’s UCL by engaging in unlawful,
23   fraudulent, and unfair conduct (i.e., violating each of the three prongs of the UCL).
24   The Unlawful Prong
25         58.    Defendant engaged in unlawful conduct by violating the FAL, and all
26   other statutes referenced herein.
27


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 1            59.   Defendant also engaged in unlawful conduct by violating Section 5(a) of
 2   the FTC Act,10 which states that “unfair or deceptive acts of practices in or affecting
 3   commerce … are … declared unlawful.”
 4   The Fraudulent Prong
 5            60.   As alleged in detail above, Defendant’s practice of deliberately
 6   suppressing Lower-Starred Reviews was deceptive and misleading. Defendant’s
 7   practice of artificially inflating reviews was likely to deceive, and did deceive,
 8   reasonable consumers like Plaintiff Blum and members of the Nationwide Class and
 9   California Class into believing that Defendant’s Products were of a higher quality that
10   they really were and/or consumers viewed the Products more favorably than they truly
11   did.
12            61.   As a result of these deceptive and misleading practices, Defendant
13   induced Plaintiff Blum and members of the Nationwide Class and California Class
14   into purchased Products that Plaintiff Blum and members of the Nationwide Class and
15   California Class would not have purchased, or would have paid substantially less for,
16   had Defendant not suppressed the Lower-Starred Reviews.
17   The Unfair Prong
18            62.   Defendant’s conduct was unfair because, by deliberately suppressing
19   Lower-Starred Reviews without disclosing this to purchasers, Defendant tricked
20   consumers into thinking that previous purchasers of its Products had a more positive
21   view of the Products than they truly did. This is unfair because it led consumers to
22   purchaser Products they wouldn’t otherwise purchase, or pay more for Products than
23   they otherwise would. This deceptive practice is also unfair because it gives Defendant
24   an unfair advantage over competitors.
25            63.   Plaintiff Blum and the Nationwide Class and California Class could not
26   have reasonably avoided this injury. Only Defendant was aware that it was hiring a
27   10
          See 15 U.S.C. § 45(a)(1).


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 1   third-party company to suppress the Lower-Starred Reviews, and consumers did not
 2   become aware of this fact until the FTC action in January 2022.
 3                                      *      *     *
 4         64.   For all prongs, Defendant’s deceptive conduct was intended to induce
 5   reliance, and Plaintiff Blum and members of the Nationwide Class and California
 6   Class saw, read, and reasonably relied on the Products’ artificially-inflated reviews
 7   and review scores when purchasing the Products. Defendant’s deceptive and unfair
 8   conduct was a substantial factor in Plaintiff Blum’s purchasing decisions and the
 9   purchasing decisions of Nationwide Class and California Class members.
10         65.   Defendant’s misrepresentations were a substantial factor and proximate
11   cause in causing damages and losses to Plaintiff Blum and members of the Nationwide
12   Class and California Class.
13         66.   There was no benefit to consumers or competition from suppressing the
14   Lower-Starred Reviews of the Products.
15         67.   Plaintiff Blum and the members of the Nationwide Class and California
16   Class have suffered harm as a result of the violations of the UCL because they have
17   incurred charges and/or paid monies they otherwise would not have incurred or paid.
18                                       COUNT II
19                    Violation of California’s False Advertising Law
                       Business & Professions Code § 17500, et seq.
20         68.   Plaintiffs hereby incorporate by reference the allegations contained in all
21   preceding paragraphs of this complaint.
22         69.   Plaintiff Blum brings this claim individually and on behalf of the
23   members of the proposed Nationwide Class and California Class against Defendant.
24         70.   This claim is brought under the laws of California.
25         71.   California’s False Advertising Law (“FAL”), Cal. Bus. & Prof. Code §§
26   17500, et seq., makes it “unlawful for any person to make or disseminate or cause to
27   be made or disseminated before the public in this state … in any advertising device …


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 1   or in any other manner or means whatever, including over the Internet, any statement,
 2   concerning … personal property or services, professional or otherwise, or performance
 3   or disposition thereof, which is untrue or misleading and which is known, or which by
 4   the exercise of reasonable care should be known, to be untrue or misleading.”
 5         72.     Between January 1, 2015 through and including December 25, 2018,
 6   Defendant committed acts of false advertising, as defined by the FAL, by suppressing
 7   Lower-Starred Reviews using artificially inflated reviews for its Products to attract
 8   more purchasers than its Products would otherwise have received and induce
 9   consumers to purchase Products or pay more for the Products than consumers
10   otherwise would have.
11         73.     Defendant knew or should have known, through the exercise of
12   reasonable care, that its Products’ artificially inflated reviews were untrue and
13   misleading.
14         74.     Defendant’s actions in violation of the FAL were false and misleading
15   such that the general public is and was likely to be deceived.
16         75.     As a direct and proximate result of these acts, consumers have been and
17   are being harmed. Plaintiff Blum and members of the Nationwide Class and California
18   Class have suffered injury and actual out-of-pocket losses as a result of Defendant’s
19   FAL violation because: (a) Plaintiff Blum and the Nationwide Class and California
20   Class would not have purchased Defendant’s Products or would have paid
21   substantially less for the Products had Defendant not suppressed the Lower-Starred
22   Reviews, thus revealing to consumers the Products’ true qualities and characteristics;
23   (b) Plaintiff Blum and the Nationwide Class and California Class paid an increased
24   price for the Products based on their artificially-inflated reviews; and (c) the Products
25   did not have the promised value.
26         76.     Plaintiff Blum and the Nationwide Class and California Class are
27   therefore entitled to: (a) full restitution of all monies paid to Defendant as a result of


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 1   their deceptive practices; (b) interest at the highest rate allowable by law; and (c) the
 2   payment of Plaintiffs’ attorneys’ fees and costs pursuant to, inter alia, California Code
 3   of Civil Procedure §1021.5.
 4                                        COUNT III
                 Violation of the Florida Unfair and Deceptive Practices Act,
 5                                Fla. Sta. §§ 501.201, et seq.
 6         77.    Plaintiffs hereby incorporate by reference the allegations contained in all
 7   preceding paragraphs of this complaint.
 8         78.    Plaintiff Dumelle brings this claim individually and on behalf of the
 9   members of the proposed Florida Class against Defendant.
10         79.    This claim is brought under the laws of Florida.
11         80.    The Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”)
12   renders unlawful unfair methods of competition, unconscionable acts or practice, and
13   unfair or deceptive acts or practices in the conduct of any trade or commerce. Fla.
14   Stat. § 501.204.
15         81.    Among other purposes, FDUTPA is intended “[t]o protect the consuming
16   public and legitimate business enterprises from those who engage in unfair methods
17   of competition, or unconscionable, deceptive, or unfair acts or practices in the conduct
18   of any trade or commerce.” Fla. Stat. § 501.202.
19         82.    FDUPTA can be violated in two ways, both of which are relevant to this
20   case. First, Defendant has committed a “traditional” violation of FDUPTA by
21   engaging in unfair and/or deceptive acts and practices which caused injury to Plaintiff
22   Dumelle and members of the Florida Class.
23         83.    Second, Defendant has committed a per se violation of FDUPTA
24   predicated on a violation of the FTC Act. Specifically, “unfair or deceptive acts of
25   practices in or affecting commerce … are … declared unlawful” pursuant to 14 U.S.C.
26   § 45(a)(1), and Defendant has therefore violated FDUPTA.             Fla. Stat. Ann. §
27   501.203(3)(c) (explaining that a FDUPTA violation may be based on “[a]ny law,


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 1   statute, rule, regulation, or ordinance which proscribes unfair methods of competition,
 2   or unfair, deceptive, or unconscionable acts or practices.”).
 3         84.    While FDUPTA does not define “deceptive” or “unfair,” Florida courts
 4   have looked to the Federal Trade Commission’s interpretations for guidance.
 5   “[D]eception occurs if there is a representation, omission, or practice that is likely to
 6   mislead the consumer acting reasonably in the circumstances, to the consumer’s
 7   detriment.” Lombardo v. Johnson & Johnson Consumer Companies, Inc., 124 F.
 8   Supp. 3d 1283, 1287 (S.D. Fla. 2015) (internal quotation marks and citation omitted).
 9   Courts define a “deceptive trade practice” as any act or practice that has the tendency
10   or capacity to deceive consumers. Fed. Trade Comm’n v. Partners In Health Care
11   Ass’n, Inc., 189 F. Supp. 3d 1356, 1367 (S.D. Fla. 2016). Courts define an “unfair
12   trade practice” as any act or practice that “offends established public policy and one
13   that is immoral, unethical, oppressive, unscrupulous or substantially injurious to
14   consumers.” Kenneth F. Hackett & Assocs., Inc. v. GE Capital Info. Tech. Sols., Inc.,
15   744 F. Supp. 2d 1305, 1312 (S.D. Fla. 2010).
16         85.    Defendant engaged in conduct that was likely to deceive members of the
17   public. This conduct includes using a third-party interface to deliberately suppress
18   lower-starred reviews of its Products to artificially inflate its Products’ review scores
19   and attract more purchasers than its Products would otherwise have received, and/or
20   induce consumers to purchase Products consumers would not have purchased or pay
21   more for Products than consumers otherwise would have.
22         86.    As alleged herein, Plaintiff Dumelle and members of the Florida Class
23   have suffered injury in fact and lost money as a result of Defendant’s conduct because
24   they purchased Defendant’s Products in reliance on Defendant’s artificially inflated
25   reviews and incurred charges and/or paid monies for the Products that they otherwise
26   would not have incurred or paid.
27


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 1         87.    Thus, Plaintiff Dumelle and members of the Florida Subclass have been
 2   “aggrieved” (i.e., lost money) as required for FDUTPA standing, and such an injury is
 3   not outweighed by any countervailing benefits to consumers or competition.
 4         88.    As alleged herein, Defendant’s actions are deceptive and in clear
 5   violation of FDUTPA, entitling Plaintiff Dumelle and the Florida Class to damages
 6   and relief under FDUPTA.
 7         89.    By committing the acts alleged above, Defendant engaged in
 8   unconscionable, deceptive, and unfair acts and practices, which constitute unfair
 9   competition within the meaning of FDUTPA.
10         90.    Indeed, no benefit to consumers or competition results from Defendant’s
11   conduct. Since consumers reasonably rely on Defendant’s own Product reviews, which
12   it directly controls, consumers could not have reasonably avoided such injury.
13         91.    Accordingly, Defendant is liable to Plaintiff Dumelle and the Florida
14   Class for damages in amounts to be proven at trial, including attorneys’ fees and costs.
15                                      COUNT IV
                       Violation of New Jersey Consumer Fraud Act,
16
                                 N.J. Stat. §§ 56:8-1, et seq.
17         92.    Plaintiffs hereby incorporate by reference the allegations contained in all
18   preceding paragraphs of this complaint.
19         93.    Plaintiff Hines brings this claim individually and on behalf of the
20   members of the New Jersey Class against Defendant.
21         94.    This claim is brought under the laws of New Jersey.
22         95.    Plaintiff Hines and New Jersey Class members have suffered an injury in
23   fact and lost money or property as a result of Defendant’s violations of New Jersey’s
24   Consumer Fraud Act (“NJCFA”), N.J. Stat. §§ 56:8-1, et seq.
25         96.    The NJCFA protects consumers from “any unconscionable commercial
26   practice, deception, fraud, false pretense, false promise, misrepresentation, or the
27


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 1   knowing, concealment, suppression, or omission, in connection with the sale or
 2   advertisement of any merchandise.” N.J. Stat. § 56:8-2.
 3           97.   Defendant engaged in unlawful conduct by deliberately and knowingly
 4   engaging in misleading, deceptive, and false statements regarding the Products in the
 5   course of Defendant’s business. Specifically, Defendant used a third-party interface
 6   to deliberately suppress Lower-Starred Reviews of its Products to artificially inflate
 7   its Products’ review scores and attract more purchasers than its Products would
 8   otherwise have received, and/or induce consumers to purchase Products consumers
 9   would not have purchased or pay more for Products than consumers otherwise would
10   have.
11           98.   Had Defendant not engaged in these misleading, deceptive, and false
12   practices, Plaintiff Hines and members of the New Jersey Class would not have
13   purchased the Products on the same terms and would have paid substantially less for
14   the Products.
15           99.   The existence of Lower-Starred Reviews would have been material to
16   Plaintiff Hines and members of the New Jersey Class.
17           100. Plaintiff Hines and members of the New Jersey Class suffered
18   ascertainable loss and actual damages as a direct and proximate result of Defendant’s
19   concealment, misrepresentations, and/or failure to disclose material information in that
20   Plaintiff Hines and members of the New Jersey Class would not have purchased the
21   Products on the same terms had they known the truth about the Products. Specifically,
22   Plaintiff Hines and members of the New Jersey Class were damaged by the difference
23   in value of the Products as represented without the Lower-Starred Reviews versus the
24   value of the Products had the Lower-Starred Reviews not been suppressed, in an
25   amount to be determined through expert testimony and at trial.
26
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 1         101. Pursuant to N.J. Stat. § 56:8-19, Plaintiff Hines and members of the New
 2   Jersey Class seek an order awarding damages and any other just and proper relief
 3   available under the NJCFA.
 4         102. In accordance with N.J. Stat. § 56:8-20, a copy of this complaint will be
 5   sent to the New Jersey Attorney General within ten (10) days of filing the same.
 6                                       COUNT V
                      Violation of Michigan Consumer Protection Act,
 7                         Mich. Comp. Laws §§ 445.901, et seq.
 8         103. Plaintiffs hereby incorporate by reference the allegations contained in all
 9   preceding paragraphs of this complaint.
10         104. Plaintiff DiVito brings this claim individually and on behalf of the
11   members of the Michigan Class against Defendant.
12         105. This claim is brought under the laws of Michigan.
13         106. The Michigan Consumer Protection Act (“MCPA”), Mich. Comp. Laws
14   §§ 445.901, et seq. declares that “[u]nfair, unconscionable, or deceptive methods, acts,
15   or practices in the conduct of trade or commerce are unlawful.”
16         107. Plaintiff DiVito and members of the Michigan Class are “persons” and
17   Defendant’s conduct complained of herein constitutes “trade or commerce.” Mich.
18   Comp. Laws § 445.902.
19         108. Defendant’s practice of posting false, misleading, and artificially-inflated
20   reviews/suppressing Lower-Starred Reviews, as described more fully herein, was an
21   unfair, unconscionable, and/or deceptive method, act, or practice in the conduct of
22   trade, which violates the MCPA.
23         109. Specifically, Defendant violated the MCPA by using a third-party
24   interface to deliberately suppress Lower-Starred Reviews of its Products to artificially
25   inflate its Products’ review scores and attract more purchasers than its Products would
26   otherwise have received. Had Defendant not engaged in this misleading, deceptive,
27   and false practices, Plaintiff DiVito and Michigan Class members would not have


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 1   purchased the Products on the same terms and would have paid substantially less for
 2   the Products.
 3         110. Plaintiff DiVito and members of the Michigan Class have been
 4   substantially injured by Defendant’s unfair and deceptive practices in that they
 5   reasonably relied on the artificially inflated reviews/were not aware of the suppressed
 6   Lower-Starred Reviews when deciding to purchase Defendant’s Products. As a result
 7   of Defendant’s suppression of the Lower-Starred Reviews and in reliance on the
 8   artificially inflated reviews, Plaintiff DiVito and members of the Michigan Class
 9   purchased Products that they believed were of a higher quality or were viewed more
10   favorably by other consumers than the Products actually were.
11         111. The damages suffered by Plaintiff DiVito and the Michigan Class were
12   directly and proximately caused by the deceptive, misleading, and unfair practices of
13   Defendant, as more fully described herein. Indeed, Plaintiff DiVito and the Michigan
14   Class members would not have purchased the Products, or would not have paid as
15   much as for the Products as they did, but for Defendant’s suppression of the Lower-
16   Starred Reviews.
17         112. Pursuant to Mich. Comp. Laws §§ 445.911(1) and (3), Plaintiff DiVito
18   and members of the Michigan Class seek damages in the amount of actual damages or
19   $250, whichever is greater, together with reasonable attorneys’ fees.
20                                      COUNT VI
                                     Unjust Enrichment
21
           113. Plaintiffs hereby incorporate by reference the allegations contained in all
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     preceding paragraphs of this complaint.
23
           114. Plaintiffs bring this claim individually and on behalf of the members of
24
     the Nationwide Class against Defendant.
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           115. This claim is brought under the laws of California.
26
           116. Plaintiffs and the Nationwide Class conferred a benefit on Defendant in
27
     the form of monies paid to purchase Defendant’s Products without knowledge that


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 1   Defendant had suppressed the Lower-Starred Reviews.
 2         117. Defendant voluntarily accepted and retained this benefit.
 3         118. Because this benefit was obtained unlawfully, namely by selling and
 4   accepting compensation for Products without disclosing that it had suppressed the
 5   Lower-Starred Reviews, it would be unjust and inequitable for the Defendant to
 6   retain it without paying the value thereof.
 7                                   PRAYER FOR RELIEF
 8         WHEREFORE, Plaintiffs, individually and on behalf of all others similarly
 9   situated, seek judgment against Defendant, as follows:
10           (a) For an order certifying the Classes under Rule 23 of the Federal Rules
11                of Civil Procedure, naming Plaintiffs as representatives of the respective
12                Classes, and naming Plaintiffs’ attorneys as Class Counsel to represent
13                the members of the Classes;
14           (b) For an order declaring the Defendant’s conduct violates the statutes
15                referenced herein;
16           (c) For an order finding in favor of Plaintiffs and the Classes on all counts
17                asserted herein;
18           (d) For compensatory, statutory, and punitive damages in amounts to be
19                determined by the Court and/or jury;
20           (e) For prejudgment interest on all amounts awarded;
21           (f) For an order of restitution and all other forms of equitable monetary
22                relief;
23           (g) For an order requiring Defendant to undertake a corrective advertising
24                campaign;
25           (h) For an order awarding Plaintiffs and the Classes their reasonable
26                attorneys’ fees and expenses and costs of suit; and
27           (i) Granting such other and further relief as may be just and proper.


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 1                            DEMAND FOR TRIAL BY JURY
 2          Pursuant to Fed. R. Civ. P. 38(b), Plaintiffs demand a trial by jury of all issues
 3   so triable.
 4
     Dated: March 28, 2022                   BURSOR & FISHER, P.A.
 5
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